  Case 1:20-cr-00084-LO Document 8 Filed 06/11/20 Page 1 of 21 PageID# 12


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                                                                                  □
                     IN THE UNITED STATES DISTRICT COURT l-QR THE                        JUN I I 2020
                              EASTERN DISTRICT OF VIRGINIA                        C^i I'''. '  C;!•
                                                                                     A-LX'-i'-Jr' A   .

                                      Alexandria Division


 UNITED STATES OF AMERICA                         )
                                                  )
                V.                                )       Case No. l:20-CR-g'^
                                                  )
 GARRISON KENNETH COURFNEY.                       )       Count I: 18 U.S.C. § 1343
   also known as                                  )       (Wire Fraud)
        "Garrison Kennelli I'icrson Courtney,"    )
        "Glenn Nelson,"                                   Forfeiture Notice
        "Glenn Nielson."
        "Gar}' Pierson,"
        "Garrison Pierson."


                Defendant.


                                       INFORMATION

       THE UNITED STATES ATTORNEY CHARGES THAT:


                                 GENERAL ALLEGATIONS


       Unless otherwise noted, at all times relevant to this Information:

       I.     Defendant GARRISON KENNETH COURTNEY, also known as "Garrison

Kenneth Pierson Courtney." "Glenn Nelson." "Glenn Nielson," "Gary Pierson," "Garrison

Pierson," (hereinafter, "COURTNEY") was a resident of Alexandria, Virginia, within the

Eastern District of Virginia. From in or about 2005 through in or about 2009, COURTNEY was

employed as a public alTairs officer for the Drug Enforcement Administration ("DBA"). At all

times after his departure from the DEA in or about 2009, COURTNEY was not an employee of

the United States government. COURTNEY has never been an employee, officer, or agent of, or

otherwise affiliated with, the Central Intelligence Agency ("CIA"). In or around 2005,

COURTNEY applied for a job with the CIA. The CIA subsequently extended a conditional ofTer
Case 1:20-cr-00084-LO Document 8 Filed 06/11/20 Page 2 of 21 PageID# 13
Case 1:20-cr-00084-LO Document 8 Filed 06/11/20 Page 3 of 21 PageID# 14
Case 1:20-cr-00084-LO Document 8 Filed 06/11/20 Page 4 of 21 PageID# 15
Case 1:20-cr-00084-LO Document 8 Filed 06/11/20 Page 5 of 21 PageID# 16
Case 1:20-cr-00084-LO Document 8 Filed 06/11/20 Page 6 of 21 PageID# 17
Case 1:20-cr-00084-LO Document 8 Filed 06/11/20 Page 7 of 21 PageID# 18
Case 1:20-cr-00084-LO Document 8 Filed 06/11/20 Page 8 of 21 PageID# 19
Case 1:20-cr-00084-LO Document 8 Filed 06/11/20 Page 9 of 21 PageID# 20
Case 1:20-cr-00084-LO Document 8 Filed 06/11/20 Page 10 of 21 PageID# 21
Case 1:20-cr-00084-LO Document 8 Filed 06/11/20 Page 11 of 21 PageID# 22
Case 1:20-cr-00084-LO Document 8 Filed 06/11/20 Page 12 of 21 PageID# 23
Case 1:20-cr-00084-LO Document 8 Filed 06/11/20 Page 13 of 21 PageID# 24
Case 1:20-cr-00084-LO Document 8 Filed 06/11/20 Page 14 of 21 PageID# 25
Case 1:20-cr-00084-LO Document 8 Filed 06/11/20 Page 15 of 21 PageID# 26
Case 1:20-cr-00084-LO Document 8 Filed 06/11/20 Page 16 of 21 PageID# 27
Case 1:20-cr-00084-LO Document 8 Filed 06/11/20 Page 17 of 21 PageID# 28
Case 1:20-cr-00084-LO Document 8 Filed 06/11/20 Page 18 of 21 PageID# 29
Case 1:20-cr-00084-LO Document 8 Filed 06/11/20 Page 19 of 21 PageID# 30
Case 1:20-cr-00084-LO Document 8 Filed 06/11/20 Page 20 of 21 PageID# 31
Case 1:20-cr-00084-LO Document 8 Filed 06/11/20 Page 21 of 21 PageID# 32
